                          IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               Case No.: 5:21-cv-00093-KDB-DCK

 JOERELLA ELLEBY, on behalf of                   )
 herself and others similarly situated,          )
                                                 )
        Plaintiff,                               )
                                                 )
        v.                                       )
                                                 )
 LIBERTY UNIVERSITY, INC.,                       )
                                                 )
      Defendant.                                 )
 __________________________________              )

                              JOINT NOTICE OF SETTLEMENT

        The purpose of this Joint Notice of Settlement is to apprise the Court that Plaintiff

and Defendant has reached a settlement in principle that will resolve all claims asserted

by Plaintiff. The parties are in the process of finalizing settlement terms and expect to file

a Joint Stipulation of Dismissal with Prejudice with the Court within thirty (30) days from

the filing of this Joint Notice of Settlement.




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 Respectfully submitted this the 18th day of March 2022.


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                                  CERTIFICATE OF SERVICE


        The undersigned certifies that on March 18, 2022, the document to which this certificate

is affixed was filed with the clerk of Court using the Court’s CM/ECF System, which allows for

automatic electronic service on the following counsel of record.

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